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                                IN THE UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON



CONSTANCE GEORGE,                                                        Case No. 3:15-cv-01277-SB

                          Plaintiff,                                                          VERDICT

           v.

HOUSE OF HOPE RECOVERY and
PATRICIA BARCROFT,

                          Defendants.



           We, the jury, being first duly empaneled and sworn in this case find as follows:


                                        CLAIM ONE: FAIR HOUSING ACT

           1.      Has Ms. George proved by a preponderance of the evidence that her race was a
                   motivating factor in defendants' decision to terminate her tenancy?


                   YES                     NO _ x

           2.      Has Ms. George proved by a preponderance of the evidence that defendants
                   violated her rights under the Fair Housing Act by subjecting her to different terms
                   and conditions than a white tenant?


                   YES                     N04

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           3.      Has Ms. George proved by a preponderance of the evidence that defendants
                   violated her rights under the Fair Housing Act by making a statement with respect
                   to the rental of a dwelling that indicates any preference, limitation, or
                   discrimination based on race?


                   YES                   No_X_
                      CLAIM TWO: SECTION 1981 OF THE CIVIL RIGHTS ACT


           4.      Has Ms. George proved by a preponderance of the evidence that defendants
                   violated her rights under 42 U.S.C. § 1981 by depriving her of the same right
                   enjoyed by white persons to make and enforce a contract?


                   YES                   No _X_
           5.      Has Ms. George proved by a preponderance of the evidence that defendants
                   violated Ms. George's rights under 42 U.S.C. § 1981 because her race was the
                   determinative factor for defendants' decision to terminate her tenancy?


                   YES                   No _l(
           6.      Has Ms. George proved by a preponderance of the evidence that defendants
                   retaliated against Ms. George for making a complaint regarding defendants'
                   disparate treatment of her based on her race?


                   YES                   N0--4-
Ifyou answered "YES" to ANY one or more of Questions 1-6, please proceed to Question 7. If
you find that Ms. George's rights were violated by Ms. Barcroft, House of Hope, or both, but that
Ms. George failed to prove any actual injury or damage, you may award nominal damages for
that violation not to exceed one dollar, instead of actual damages. Do not award both actual
damages and nominal damages. Ifyou answered "NO" to EACH of Questions 1-6, your verdict
is for defendants, and you should answer no fitrther questions. Please have the presiding juror
sign and date this verdict form . Your deliberations are now complete.




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           7.      What is the amount of Ms. George's damages, if any, caused by defendants?

                   Economic damages              $ _ _ _ _ __
                   Noneconomic damages           $ ------

                   OR

                   Nominal damages               $_ _ _ _

           8.      Did Ms. George prove that she is entitled to recover punitive damages against one
                   or more of the defendants?

                   House of Hope                     YES                NO

                   Patricia Barcroft             YES                    NO

           9.      If you answered "Yes" to Question 8, please state the amount in punitive damages
                   that you are awarding:

                   House of Hope                 $ _ _ __
                   Patricia Barcroft             $ _ _ __

         Your deliberations are now complete. Please have the presiding juror sign and date this
verdict form.

           DATED this     bti, day of April, 2018.

                                                     Presiding Juro1/




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